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 8                            UNITED STATES DISTRICT COURT
 9                          SOUTHERN DISTRICT OF CALIFORNIA
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11     Ms. L.; et al.,                                     Case No.: 18cv0428 DMS (MDD)
12                           Petitioners-Plaintiffs,
                                                           ORDER SETTING FURTHER
13     v.                                                  STATUS CONFERENCE
14     U.S Immigration and Customs
       Enforcement (“ICE”); et al.,
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                         Respondents-Defendants.
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18           A status conference was held on March 28, 2019. After consulting with counsel and
19     being advised of the status of the case, IT IS HEREBY ORDERED:
20     1.    Defendants shall submit their proposal on the next steps for the new class members
21     on or before 3:00 p.m. on April 5, 2019.
22     2.    The next Joint Status Report shall be filed on or before 3:00 p.m. on April 12, 2019.
23     3.    A further status conference shall be held on April 16, 2019, at 1:00 p.m. The dial-
24     in number for any counsel who wish to listen in only and members of the news media is as
25     follows.
26           a.     Dial the toll free number: 877-411-9748;
27           b.     Enter the Access Code: 6246317 (Participants will be put on hold until the
28                  Court activates the conference call);

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 1           c.       Enter the Participant Security Code 04160428 and Press # (The security code
 2                    will be confirmed);
 3           d.       Once the Security Code is confirmed, participants will be prompted to Press
 4                    1 to join the conference or Press 2 to re-enter the Security Code.
 5     Members of the general public may attend in person. All persons dialing in to the
 6     conference are reminded that Civil Local Rule 83.7(c) prohibits any recording of court
 7     proceedings.
 8     6.    Counsel for the Ms. L. Class shall provide notice of this order to counsel for
 9     Plaintiffs in any of the related cases that wish to appear.
10      Dated: March 28, 2019
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